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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

    In re:
                                                                 Chapter 7
    BAYOU STEEL BD HOLDINGS, L.L.C., et al.,1
                                                                 Case No. 19-12153 (KBO)

                   Debtors.                                      (Jointly Administered)

                                                                 Objection Deadline: Sept. 4, 2020 at 4:00 p.m. (ET)
                                                                 Hearing Date: Oct. 7, 2020 at 10:00 a.m. (ET)

          NOTICE OF MOTION OF GEORGE L. MILLER, CHAPTER 7 TRUSTEE,
        SEEKING THE ENTRY OF AN ORDER APPROVING AND AUTHORIZING A
               PROTOCOL TO COMPROMISE PREFERENCE CLAIMS

                  PLEASE TAKE NOTICE that on August 21, 2020, George L. Miller, chapter 7

trustee (the “Trustee”), to the estates of the above-captioned debtors, filed the Motion of George

L. Miller, Chapter 7 Trustee, Seeking the Entry of an Order Approving and Authorizing a

Protocol to Compromise Preference Claims (the “Motion”), with the United States Bankruptcy

Court for the District of Delaware, 824 North Market Street, Wilmington, Delaware 19801 (the

“Bankruptcy Court”). A copy of the Motion is attached hereto.

                  PLEASE TAKE FURTHER NOTICE that any response or objection to the

relief sought in the Motion must be filed with the Bankruptcy Court on or before September 4,

2020, at 4:00 p.m. prevailing Eastern Time.

                  PLEASE TAKE FURTHER NOTICE that at the same time, you must also

serve a copy of the response or objection upon: (i) counsel to the Chapter 7 Trustee, Pachulski

Stang Ziehl & Jones LLP, 919 North Market Street, 17th Floor, P.O. Box 8705, Wilmington, DE



1
  The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification number, are
Bayou Steel BD Holdings, L.L.C., a Delaware limited liability company (1984), BD Bayou Steel Investment, LLC,
a Delaware limited liability company (1222), and BD LaPlace, LLC, a Delaware limited liability company (5783).
The Debtors’ former location was: 138 Highway 3217, LaPlace, Louisiana 70068.


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19899-8705 (Courier 19801), Attn: Bradford J. Sandler (bsandler@pszjlaw.com), Colin R.

Robinson (crobinson@pszjlaw.com), and Peter J. Keane (pkeane@pszjlaw.com); and (ii) the

Office of the United States Trustee, J. Caleb Boggs Federal Building, 844 N. King Street, Suite

2207, Lock Box 35, Wilmington, DE 19801, Attn: Linda J. Casey (linda.casey@usdoj.gov).

                 PLEASE TAKE FURTHER NOTICE THAT IF YOU FAIL TO RESPOND IN

ACCORDANCE WITH THIS NOTICE, THE COURT MAY GRANT THE RELIEF

REQUESTED IN THE MOTION WITHOUT FURTHER NOTICE OR HEARING.




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                 PLEASE TAKE FURTHER NOTICE THAT A HEARING TO CONSIDER

THE RELIEF SOUGHT IN THE MOTION WILL BE HELD ON OCTOBER 7, 2020 AT

10:00 A.M. PREVAILING EASTERN TIME BEFORE THE HONORABLE KAREN B.

OWENS, UNITED STATES BANKRUPTCY JUDGE, AT THE UNITED STATES

BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE, 824 MARKET STREET,

SIXTH FLOOR, COURTROOM NO. 3, WILMINGTON, DELAWARE 19801.


 Dated: August 21, 2020                PACHULSKI STANG ZIEHL & JONES LLP


                                        /s/ Peter J. Keane
                                       Bradford J. Sandler (DE Bar No. 4142)
                                       Colin R. Robinson (DE Bar No. 5524)
                                       Peter J. Keane (DE Bar No. 5503)
                                       919 North Market Street, 17th Floor
                                       Wilmington, DE 19801
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                                                pkeane@pszjlaw.com

                                       Counsel for George L. Miller, Chapter 7 Trustee




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